 Case 13-00507-bif       Doc 6 Filed 10/15/13 Entered 10/15/13 15:49:16              Desc Main
                                Document     Page 1 of 2
                      IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

In re: Paolo Rizzi and Patricia Rizzi                CHAPTER 13
      Debtor
                                                     BANKRUPTCY CASE NO.
Paolo Rizzi and Patricia Rizzi                       12-18400-BIF
     Plaintiff
                                                     Adv. No. 13-00507-BIF
   v.
                                                     Related to Document Number: 1
Deutsche Bank National Trust Company, as
Trustee for LSF6 Mercury REO Investments
Trust Series 2008-1, By Caliber Home Loans
f/k/a Vericrest Financial, Inc. as its Attorney in
Fact,
      Defendant,



                    STIPULATION BETWEEN DEBTORS/PLAINTIFFS AND
                     DEUTSCHE BANK NATIONAL TRUST COMPANY, AS
                     TRUSTEE FOR LSF6 MERCURY REO INVESTMENTS
                      TRUST SERIES 2008-1, BY CALIBER HOME LOANS
                             F/K/A VERICREST FINANCIAL, INC.
                    AS ITS ATTORNEY IN FACT, AS SETTLEMENT TO THE
                                  ADVERSARY COMPLAINT

               Whereas Defendant Deutsche Bank National Trust Company, as Trustee for LSF6

Mercury REO Investments Trust Series 2008-1, By Caliber Home Loans, f/k/a Vericrest Financial,

Inc. as its Attorney in Fact and Debtor Paolo Rizzi and Patricia Rizzi wish to amicable resolve the

pending adversary without further litigation, it is hereby STIPULATED and AGREED that:

               1.      That Deutsche Bank National Trust Company, as Trustee for LSF6 Mercury

REO Investments Trust Series 2008-1, By Caliber Home Loans, f/k/a Vericrest Financial, Inc. as

its Attorney in Fact's claim, which acts as a second lien against the property known 909 Jamestown

Road, Broomall, PA 19008 is deemed unsecured for purposes of the Debtor’s Chapter 13 Plan.

               2.      That Deutsche Bank National Trust Company, as Trustee for LSF6 Mercury

REO Investments Trust Series 2008-1, By Caliber Home Loans, f/k/a Vericrest Financial, Inc. as

its Attorney in Fact shall take all necessary steps, upon Discharge of the bankruptcy case and

Completion of the Chapter 13 Plan, to mark the lien satisfied.
 Case 13-00507-bif       Doc 6    Filed 10/15/13 Entered 10/15/13 15:49:16 Desc Main
                                   Document      Page 2 of 2
               3.      Should the above bankruptcy case be dismissed or converted to a Chapter 7

proceeding, then this stipulated order is void.

               4.      The adversary action is settled as set forth above.

               5.      Facsimile or e-signatures are accepted for the purpose of filing this Stipulation

with the Bankruptcy Court.



                                          /s/ Christopher George Cappio
Dated: October 14, 2013
                                          Christopher George Cappio, Esquire, Debtor's Counsel


                                          THE LAW OFFICES OF BARBARA A. FEIN, P.C.

                                          /s/ Kristen D. Little
Dated: October 15, 2013
                                          Kristen D. Little, Esquire
                                          Deutsche Bank National Trust Company, as Trustee for LSF6
                                          Mercury REO Investments Trust Series 2008-1, By Caliber
                                          Home Loans f/k/a Vericrest Financial, Inc. as its Attorney in
                                          Fact



       AND NOW, this             day of              , 2013, it is hereby ORDERED that the foregoing

Stipulation is approved, shall be and is made an Order of this Court.



                                                                                Bruce I. Fox, U.S.B.J.
